Case 3:11-cr-00005-HES-JK Document 818 Filed 04/03/14 Page 1 of 6 PageID 5191
Case 3:11-cr-00005-HES-JK Document 818 Filed 04/03/14 Page 2 of 6 PageID 5192
Case 3:11-cr-00005-HES-JK Document 818 Filed 04/03/14 Page 3 of 6 PageID 5193
Case 3:11-cr-00005-HES-JK Document 818 Filed 04/03/14 Page 4 of 6 PageID 5194
Case 3:11-cr-00005-HES-JK Document 818 Filed 04/03/14 Page 5 of 6 PageID 5195
Case 3:11-cr-00005-HES-JK Document 818 Filed 04/03/14 Page 6 of 6 PageID 5196
